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                            EXHIBIT A
            Case 2:19-cv-01934-FMO-KS Document 1-1 Filed 03/15/19 Page 2 of 49 Page ID #:8

Electmnically FILED by Superior Court. oF CaiiFdmfa, .Couniy of Los Angeles on 02101/2014 04.5U P,jyQ,$~grri R Carter, Executive Oflicer/Clerk of CourL by N. Alvarez,Deputy CEerk
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, Electronically FIL                  by.Superior.Court of Cwifanii8, County of Los AngeJes on 02101l2019 04:50 PM Sherri k Carter, Executive OfficerlCferk of Court. by N. Alvarez,Deput Clerk
                                                                                                                                                                   19S7CV03731

                                                                                   Assigned for all purposes ta: Sianley Mosk Courthouse, Judicial Officer: Maureen DuEry-Lewis



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Case 2:19-cv-01934-FMO-KS Document 1-1 Filed 03/15/19 Page 4 of 49 Page ID #:10




                      GENERAh ALLEGATION COMIVION TOA.LL CAUSES OF°AC'IION. .
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    County of~;.os Angeles,..S.tate iif California, and, at all iimes relevant herein;:was/'~is engaged in
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    these` Defend~ts:by such`:fiatitiotis names. Plaintiff will s6el~ leave to amend tliis::Co~plai~nr #o
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              Case 2:19-cv-01934-FMO-KS Document 1-1 Filed 03/15/19 Page 32 of 49 Page ID #:38


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                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
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  Stanley Mosk Courthouse                                                                       Se~grior cwd df ea<irawa
  111 North Hill Street, Los Angeles, CA 90012                                                    Ca~antyof losAngW$
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                       NOTICE OF CASE ASSIGNMENT                                         5beiii R CarIet, Em4utive 06oaa'o (bdikafCau!

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                         UNLIMITED CIVIL CASE


   Your case is assigned for all parposes to the judicial oflicer indicated below.   I 19STCV03731

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED TUDGE              DEPT      ROOM                     ASSIGNED JUDGE                  DEPT       ROOM
    ✓     Maureen Duffy-Lewis               38




    Given to the Plaintiff/Cruss-ComplafnandAttomey of Record    Sherri R. Carter, Executive Officer / Clerk of Court
    on 02/06/2019                                                         By Nancy Alvarez                               , Deputy Clerk
                 (DaW)
LACIV 196 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05106
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                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVQ, CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are sununarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over a)1 other Loca) Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a juflge, or if a party has not yet appeared, within 15 days of the 6rst appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of ftling and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: altemative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATU~S CONFERENCE
The Court will r+equire the patties to attend a final status conference not rnore than 10 days before the scheduled trial date. All
parties shatI have motions in licnine, bifurcation motions; statements of major evidentiary issues, dispositive motions, requested
form jury instrucfions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by ChaptEr Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Tbree Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a patty.

This is not a complete de6neation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randontly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be retumed to an Independent
Calendar Courtroom for all purposes.
*Provisionally Complex Cases
Cases fiied as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be oomplex within the meaning of Califomia Rules of Court 3.400 et seq., it will be
randomly.assigned to a_complex judge at the designated complex courthouse. If the case is found not,to be complex,_it :will.be
retumed to an Independent Calendar Courtroom for all purposes.




IACGV 190 (Rev6/16)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Appmved 05/O6
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